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                                                                                   IN THE CIRCUIT COURT OF THE
                                                                                   NINTH JUDICIAL CIRCUIT, IN AND
                                                                                   FOR ORANGE COUNTY, FLORIDA

                                                                                   CASE NO.: 2018-CA-12326-O

         JAMES SPALDING,

                Plaintiff,
          V.


          ANGELA SEDA BORRERO,

                Defendant.
                                                                  /

                          DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES

               COMES NOW Defendant, ANGELA SEDA BORRERO (hereinafter “Defendant’),

         by and through its undersigned counsel, and pursuant to the Florida Rules of Civil

         Procedure 1.110, files its Answer and Affirmative Defenses to Plaintiff's Complaint. ror

         purposes of this Answer, all allegations not specifically admitted are deemed denied. In

         response to the allegations contained in Plaintiff's Complaint, Defendant, ANGELA SEDA

         BORRERO, states as follows:

                                              JURISDICTIONAL ALLEGATIONS

               le          Admitted for jurisdictional purposes only.

               2.          Without knowledge and, therefore, denied.

               3           Admitted.

                4.         Admitted for jurisdictional purposes only.




                6.         Admitted.


                                                       COLE, SCOTT & KISSANE, P.A.
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                                                                                                                                     Exhibit J

                                                                                                                                           CF 379
                                                                                          CASE NO.: 2018-CA-12326-O


       7.         Denied.

                                                              Count!

       8.          Defendant re-asserts and re-states her prior responses to Paragraphs 1-7 ,

as if set forth fully herein.

        9.         Admitted.

        10.        Denied.

        11.        Denied.

                                                              Count Il

        12.        Defendant re-asserts and re-states her prior responses to Paragraphs 1-7,

as if set forth fully herein.

        13.        Admitted.

        14.        Denied.

        15.        Denied.

        16.         Denied.

                                              AFFIRMATIVE DEFENSES

                                               First Affirmative Defense

         Defendant affirmatively states that to the extent that the Plaintiffs own actions

and/or omissions were the sole and proximate cause or proximately contributed to all or

 some of the Plaintiff's alleged damages, if any, any cause of action against Defendant

 should be barred, or alternatively, pursuant to applicable Florida Law, any damages or

 recovery to Plaintiff should be reduced accordingly.

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            Defendant affirmatively states that to the extent that Plaintiffs alleged damages
                                                               Page 2
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